                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND

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                                   )
ALISON MCDANIEL,                   )
                                   )
          Plaintiff,               )
                                   )
     v.                            )               C.A. No. 23-292 WES
                                   )
PRESERVE PROPERTY MANAGEMENT       )
COMPANY, LLC, et al.,              )
                                   )
          Defendants.              )
___________________________________)

                            MEMORANDUM AND ORDER

WILLIAM E. SMITH, Senior District Judge.

     Plaintiff     Alison    McDaniel      sues    Defendants     for    alleged

employment    discrimination,      labor     law    violations,     breach    of

contract,    defamation,     and   battery.        2d   Am.   Verified   Compl.

(“Operative Complaint”), ECF No. 43.          Pending before the Court is

Defendants’   Motion   for    Partial   Summary      Judgment   (“Defendants’

Motion”), ECF No. 47.       For the reasons below, the Court GRANTS IN

PART and DENIES IN PART Defendants’ Motion.

I. BACKGROUND

  A. The Parties

     The Preserve at Boulder Hills, LLC (“PBH”).                Defendant PBH

owns and manages real estate in Richmond, Rhode Island.                  Defs.’

Statement Undisputed Facts (“DSUF”) ¶ 70, ECF No. 48.                        PBH,

alongside the M.T.M. Development Corporation (“MTM”), developed
the property into a luxury resort (the “Resort”).                  Pl.’s Statement

Undisputed Facts (“PSUF”) ¶¶ 1-5, 7, ECF No. 59.               The Resort offers

a   range   of   services       including     upscale     lodging,    dining,      spa

treatment, and outdoor activities.                Id.      After developing the

Resort, PBH hired a management company to operate it.                    Id. ¶ 9.

      Preserve        Property      Management     Company,        LLC      (“PPMC”).

Defendant PPMC now manages nearly everything at the Resort.                        Id.

¶ 33.     PPMC was founded in February 2020.               DSUF ¶ 89.       At first,

PPMC itself was managed by another company called the Ocean House

Management Company (“Ocean House”).               Id. ¶ 92.         At some point,

though,     Ocean     House’s    management       ended,     and    Ocean     House’s

employees transitioned to PPMC.             Id. ¶ 95.     From June 2023 to June

2024, PPMC was placed under the management of another company

called Pyramid Benchmark Global.              Id. ¶ 97.

      Paul Mihailides.          Defendant Mihailides sits atop a complex

web of business arrangements.             See PPMC & PBH’s 2d Am. Corporate

Disclosure Statement (“Disclosure Statement”), ECF No. 22.                       He is

the   Trustee    of    the   Paul    P.   Mihailides      Revocable      Trust   (the

“Trust”).    Id. at 1.       The Trust owns an entity called PPM & Co.,

LLC, which owns Defendant PPMC.             Id.

      Mihailides is also the president of MTM.                     Exs. DSUF Supp.

Defs.’ Mot. Ex. 10, at 2, ECF No. 49-10.                MTM, together with PPM

& Co., LLC, jointly owns another entity named Preserve Management,

LLC. Disclosure Statement 2. This entity partially owns Defendant

                                          2
PBH.    Id.

       Alison McDaniel.        McDaniel works as a professional actress

and model, with over fifteen years of experience in creative

industries.       DSUF ¶¶ 1-5; PSUF ¶ 36.       She also owns and operates

the Ali McDaniel Agency (the “Agency”), a business that contracts

with nonprofits to help them fundraise at charity events.               DSUF ¶¶

6-10.       The Agency helps, in part, by providing “raffle girls”          to

sell raffle tickets.       Id. ¶ 10.       This is McDaniel’s main role at

the charity events.       PSUF ¶ 39.

  B. The Parties’ Relationship

       McDaniel met Mihailides at one such charity event in February

2019.       Id. ¶ 42.    Mihailides thought that she was a nonprofit

spokesperson and model who “worked the crowd to make ticket sales.”

Id. ¶ 45.        After the event, Mihailides followed up with her by

text message.        DSUF ¶ 12.     He said that he needed an outdoor

spokesperson for a program at the Resort.             Id.    He also wanted to

speak to her about other events.             Id.   And he asked her about

creating an Instagram page.          Id.     She said that she could make

time to speak and wanted to help.           Id. ¶ 13.

       In    mid-2019,   PBH   retained    McDaniel     to   provide   modeling

services for the Resort and paid her $2,000 for those services.

Id. ¶¶ 15-17.       Then in November, Mihailides emailed McDaniel with

a list of other possible business opportunities, writing that

“[o]nly you know what the best opportunity for us is and the time

                                       3
you can commit.” Id. ¶¶ 18-20. He outlined different compensation

models based on how much work she could take on.                    Id. ¶ 21.    That

December,      the    two   met    to   keep    discussing     possible       business

opportunities.          PSUF ¶¶ 49-50.          Mihailides says “nothing was

solidified at this meeting.”            Id. ¶ 50.      But McDaniel claims that

at the meeting, Mihailides offered her a salary of $6,000 per

month, although they did not establish her specific job duties.

Aff. McDaniel ¶ 11, ECF No. 60.

       From    there,    the   parties’    business     relationship         continued

until February 17, 2022.           On that day, McDaniel emailed Mihailides

to    end    the   business    relationship       because      of   alleged     sexual

harassment by Mihailides.           PSUF ¶ 53-54.

       McDaniel claims that during the entire time she worked for

PBH,    “Mihailides      subjected      [her]   to    repeated      sexual    advances

including attempts to kiss [her] on the mouth, requests for sexual

favors, inappropriate touching, ogling with suggestive overtones,

and verbal and physical harassment of a sexual nature, which were

unwelcome and offensive to [her].”                   Aff. McDaniel ¶ 12.         This

lawsuit arises mostly from these allegations.                         See generally

Operative Compl.

     C. This Lawsuit

       In September 2022, McDaniel filed a Charge of Discrimination

with the federal Equal Employment Opportunity Commission (“EEOC”)

and    the    Rhode   Island      Commission    for    Human   Rights    (“RICHR”).

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Operative Compl. ¶¶ 168, 171.

     On July 11, 2023, after obtaining a “Right to Sue” letter

from the EEOC, McDaniel filed this lawsuit.                 Id. ¶¶ 171, 175.       She

then amended it on July 19.         Id. ¶ 175.       The next day, Defendants

filed     their    Answer   and    made       numerous   counterclaims       against

McDaniel.      Defs.’ Answer Am. Verified. Compl. & Countercls., ECF

No. 7.

     Then,        in   November,   McDaniel        filed     another      Charge   of

Discrimination with RICHR, alleging Defendants retaliated against

her by filing their counterclaims.                DSUF ¶¶ 466-467.          McDaniel

later amended that charge to also claim that Defendants further

retaliated against her by filing a separate state criminal report

against her.       Id. ¶¶ 470-471.

     In January 2024, McDaniel moved to amend her Amended Verified

Complaint to add more claims and parties.                  McDaniel’s Mot. Leave

Amend Am. Verified Compl., ECF No. 34.              The Court granted in part

and denied in part that motion.           Mem. & Order (Mar. 11, 2024), ECF

No. 42.

        McDaniel’s     Operative   Complaint       now     brings   the    following

thirteen Counts against Defendants:

          •   Counts I-III claim PBH and PPMC violated Title VII.
              Operative Compl. ¶¶ 187-226.

          •   Counts IV-VI allege that PBH and PPMC violated the Rhode
              Island Fair Employment Practices Act (“FEPA”). Id. ¶¶



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             227-266.

         •   Count VII accuses PBH and PPMC of breach of contract.
             Id. ¶¶ 267-273.

         •   Counts VIII & IX allege that all Defendants violated the
             Rhode Island Civil Rights Act of 1990 (“RICRA”). Id. ¶¶
             274-309.

         •   Counts X & XI claim that all Defendants violated the
             Rhode Island Payment of Wages Act (“RIPWA”).  Id. ¶¶
             310-322.

         •   Count XII alleges Mihailides committed defamation.           Id.
             ¶¶ 323-330.

         •   Count XIII accuses Mihailides of battery.           Id. ¶¶ 331-
             334.

II.    DISCUSSION

       Defendants now move for summary judgment on all Counts except

Count XIII.     Mem. L. Supp. Defs.’ Mot. Partial Summ. J. (“Defs.’

Mem.”), ECF No. 47-1.        Defendants’ Motion largely relies on four

propositions.       First, that McDaniel was not their employee, but

rather was an independent contractor.          Defs.’ Mem 9-48.        Second,

and relatedly, that Defendants were not her employers.             Id. at 6-

9.     Third, that any alleged sexual harassment she experienced

occurred in March 2019 or no later than April 2020.              Id. at 51-

53.    And fourth, that any alleged defamatory statements Mihailides

made    occurred    no   later   than   December   2021.   Id.    at    53-54.

Defendants wield these propositions to argue both that McDaniel

cannot sue them under some of her chosen statutes, and that even




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where she can sue them, her claims are time barred.

  A. Summary Judgment Standard

     The Court must grant summary judgment if Defendants, as the

movants, show “that there is no genuine dispute as to any material

fact and [they are] entitled to judgment as a matter of law.”   Fed.

R. Civ. P. 56(a).    “[A] dispute is genuine when the evidence is

such ‘that a reasonable jury could resolve the point in favor of’”

McDaniel.   See Quintana-Dieppa v. Dep’t of the Army, 130 F.4th 1,

7 (1st Cir. 2025) (quoting Doe v. Trustees of Bos. Coll., 892 F.3d

67, 79 (1st Cir. 2018)).     A fact is material when it has the

“potential to affect the outcome of the suit under the applicable

law.”   Id. (quoting Cherkaoui v. City of Quincy, 877 F.3d 14, 23

(1st Cir. 2017)).   And if Defendants show that there is no genuine

dispute as to any material fact, then they are entitled to summary

judgment unless McDaniel can “present definite, competent evidence

on any issue for which she bears the ultimate burden of proof” to

show that “a trier of fact could reasonably resolve that issue in

[her] favor.”   See id. (collecting cases) (cleaned up).

     At this stage, the Court views “the entire record in the light

most hospitable” to McDaniel.    See id. (quoting McCarthy v. Nw.

Airlines, Inc., 56 F.3d 313, 315 (1st Cir. 1995)).    The Court will

draw all reasonable inferences in her favor, but will not rely on

“conclusory allegations, improbable inferences, [or] unsupported

speculation.”   Id. (alteration in original) (quoting McCarthy, 56

                                 7
F.3d at 315).

       Defendant’s propositions present mixed questions of law and

fact.    McDaniel disputes them all.           The Court may consider each at

summary judgment.         DeLia v. Verizon Commc’ns Inc., 656 F.3d 1 (1st

Cir. 2011) (involving employee and employer questions); Franchina

v. City of Providence, 881 F.3d 32, 47-48 (1st Cir. 2018) (citing

Nat’l    R.R.       Passenger   Corp.   v.    Morgan,   536   U.S.   101   (2002))

(involving date of occurrence of alleged discrimination question).

     B. Counts I-III: Title VII Claims

       The Court begins with McDaniel’s Title VII claims.              Title VII

bans as an unlawful employment practice employer discrimination

“against any individual with respect to [her] compensation, terms,

conditions, or privileges of employment, because of . . . sex.”

42    U.S.C.    §    2000e-2(a)(1).      Addressing     retaliation,       it   also

prohibits employer discrimination against any employee “because

[s]he has opposed any practice made an unlawful employment practice

by this [law], or because [s]he has made a charge, testified,

assisted, or participated in any manner in an investigation,

proceeding, or hearing under this [law].”               Id. § 2000e-3(a).

       McDaniel alleges that PBH and PPMC are vicariously liable for

multiple unlawful employment practices based on sex.                   Operative

Compl.    ¶¶ 187-226.      She says that they, via Mihailides, subjected

her to (1) a hostile work environment and (2) quid pro quo sexual

harassment.         Id. ¶¶ 187-216.     She also alleges retaliation, based

                                          8
on their filing of a criminal complaint against her.              Id. ¶¶ 217-

226.

       But Title VII protects only “employees” from discrimination

by their “employers.”        42 U.S.C. §§ 2000e, 2000e-2; DeLia, 656

F.3d    at   4-6.      Defendants   therefore    raise    their    first    two

propositions: that McDaniel was an independent contractor and not

an employee, and that they were not her employers, as defined by

Title VII.      Defs.’ Mem 5-45.      They thus contend that they are

entitled to summary judgment on Counts I-III.            Id.

       Title VII defines an employee as “an individual employed by

an employer.”       42 U.S.C. § 2000e(f).    It defines an employer as “a

person who is engaged in an industry affecting commerce who has

fifteen or more employees for each working day in each of twenty

or more calendar weeks in the current or preceding calendar year,

and any agent of such a person.”          Id. § 2000e(b).

       Because the statutory definitions fail to clearly establish

how to determine whether a worker is an “employee,” courts apply

“common law agency principles.”           DeLia, 656 F.3d at 4 (quoting

Lopez v. Massachusetts, 588 F.3d 69, 83 (1st Cir. 2009)).                  Those

principles counsel consideration of whether:

       the employer has the right to control when, where, and
       how the worker performs the job; the work does not
       require a high level of skill or expertise; the work is
       performed on the employer’s premises; there is a
       continuing relationship between the worker and the
       employer; the employer has the right to assign
       additional projects to the worker; the employer sets the

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     hours of work and the duration of the job; the worker is
     paid by the hour, week, or month rather than the agreed
     cost of performing a particular job; the worker does not
     hire and pay assistants; the work performed by the worker
     is part of the regular business of the employer; the
     employer is in business; the worker is not engaged in
     his/her own distinct occupation or business; the
     employer provides the worker with benefits such as
     insurance, leave, or workers’ compensation; the worker
     is considered an employee of the employer for tax
     purposes; the employer can discharge the worker; and the
     worker and the employer believe that they are creating
     an employer-employee relationship.


Lopez, 588 F.3d at 85 (brackets and internal quotation marks

omitted) (quoting 2 Equal Emp. Opportunity Comm’n, EEOC Compliance

Manual, § 2-III, at 5716-17 (2008)).     Although these principles

look at the totality of the circumstances, the “element of control”

by the alleged employer over the alleged employee is the “principal

guidepost that should be followed.”   DeLia, 656 F.3d at 4 (quoting

Lopez, 588 F.3d at 84-85).

     Applying these principles to the undisputed facts of the

parties’ business relationship leaves no doubt that McDaniel was

not an employee of either PBH or PPMC.

     McDaniel’s work and Defendants’ control.   McDaniel chose her

own work assignments – assignments that would fit within her own

schedule - from among a menu of options that Defendants presented

to her.   DSUF ¶¶ 12-13, 18-21, 49-50.     She alleges that those

assignments included:

     [a]cting   as a Spokesperson; acting in commercials;
     creating   and appearing in videos for social media;

                                10
     providing   my   image    for   print,   social   media,
     advertisements, and magazines; acting as the social
     media manager; appearing at special events; appearing in
     videos for the Sporting Shoppe located on [Resort]
     property; creating marketing campaigns and ideas;
     shooting photography and videography; editing social
     media videos, brochures, and ad campaigns; creating the
     3rd Hobbit House Concept; collaborations with other
     brands and/or people; working as editor for OEL magazine
     and managing its Instagram page; working and staffing
     trade shows to represent [the Resort] in North Carolina,
     Texas, and Pennsylvania; creating Fall Hobbit House
     décor; and hiring other professionals such as actors and
     videographers.

     I was also required to work on the property in many other
     ways such as doing tasks like decorating the Hobbit
     House, waiting tables on Mother’s Day 2021, and helping
     to clean and stock the rooms of their new Hilltop Lodge.
     I also spent a lot of time trying to create a women’s
     clothing line for [the Resort].

Ex. Supp. PSUF (“McDaniel’s Ex.”) 51-52, ECF No. 61.       While some

of these tasks did not require a high level of skill or expertise,

much of her main work doing acting, marketing, public relations,

and photography, did require advanced skill.     See Alberty-Vélez v.

Corporación De P.R. Para La Difusión Pública, 361 F.3d 1, 7 (1st

Cir. 2004).     And her work on those higher skill tasks was the

reason PBH hired McDaniel in the first place.     DSUF ¶¶ 18-20, 72.

     McDaniel   asserts   that   Mihailides   “exercised   significant

control over the creative aspects of McDaniel’s work.”      Pl.’s Mem.

L. Opp’n Defs.’ Mot. (“Resp.”) 23, ECF No. 58-1.     To support that

assertion, she lists several examples, including that Mihailides

had final approval of video content, required a dress code for

events and photo shoots, and gave suggestions and feedback about

                                  11
her work product.        Id. at 22-23 (first citing Aff. McDaniel; and

then citing McDaniel Ex.). She concludes that, “because this issue

is hotly contested by the parties, it does not point so favorably

in Defendants’ direction.”       Id. at 23.

       But these examples do little to show the required level of

control because they were largely creative in nature. See Alberty-

Vélez, 361 F.3d at 7 n.8, 9 (collecting cases to show that

directorial control over creative workers does not necessarily

indicate employee status).       Indeed, the Alberty-Vélez court noted,

in finding that an actress was not an employee of a television

station, that such creative “work by independent contractors is

often performed to the exacting specifications of the hiring

party.”       Id. at 9 (quoting Lerohl v. Friends of Minn. Sinfonia,

322 F.3d 486, 490 (8th Cir. 2003)).            Accordingly, the Court finds

that    the    factors    considered    here    each    support    Defendants’

proposition that McDaniel was not an employee.             See id. at 11; see

also Jones v. Montachusetts Regional Transit Auth., No. 22-1234,

2023 WL 10479525, at *5 (1st Cir. Nov. 30, 2023) (relying on

Alberty-Vélez, 361 F.3d at 9, to find that hiring party’s tight

control and management of subcontractor’s day-to-day activities

did not render that subcontractor an employee).

       Location,    personnel,   supplies,      and    schedule.      McDaniel

performed her work both at the Resort and remotely.                DSUF ¶ 193.

Although McDaniel claims otherwise, the record shows that to

                                       12
complete her work she occasionally hired assistants, paid them,

and received reimbursement from PBH.                See Resp. 31-32; DSUF ¶¶

418-425.   She also, at times, used her own supplies to perform her

work, including her own camera, clothes, laptop, cell phone, and

email.   DSUF ¶¶ 426-436.

     McDaniel did not have a set work schedule with Defendants and

her availability to work fluctuated according to her schedule.

Id. ¶¶ 197-209.       Because the relationship was not exclusive,

McDaniel’s schedule included regular and consistent contract work

through her Agency for multiple other entities throughout the

business   relationship.          Id.   ¶¶    210-392.         These     other   work

commitments   affected      her    availability         to    perform     work   for

Defendants.     Id.    ¶¶    398-403.         And   when      she   declined     work

assignments    for     Defendants,           McDaniel        sometimes     provided

substitutes through her Agency.          Id. ¶¶ 393-97.

     These factors bolster Defendants’ argument that McDaniel was

not their employee.     See Alberty-Vélez, 361 F.3d at 7-8; Dykes v.

DePuy, Inc., 140 F.3d 31, 38 (1st Cir. 1998).

     Pay, benefits, and tax treatment.                  Neither PPMC nor PBH

provided McDaniel any payroll checks, training, health insurance,

workers’ compensation insurance, paid time off, overtime pay, or

retirement benefits.        DSUF ¶¶ 73-74, 80-84, 101-02, 104-05, 112,

117, 119, 122-23.     Despite McDaniel’s claim that Mihailides agreed

to pay her a salary of $6,000 per month, Aff. McDaniel ¶ 11, the

                                        13
 record shows that she received pay as illustrated below:

Payment    Payment                           Payment   Payment    Description of
                       Payor    Payee
Number       Date                             Amount    Method           Work
                                                                  Promo Services
  1        7/9/2019     PBH    McDaniel      $2,000     Check
                                                                        Model
  2       12/8/2019     PBH     Agency       $6,000     Check        Consulting
                                                                  January/Dallas
  3       1/16/2020     PBH     Agency       $7,457     Check
                                                                    Safari Club
  4       2/29/2020     PBH     Agency       $6,430     Check        Consulting
                                                         Wire
  5        4/7/2020     PBH    McDaniel      $6,000                    None
                                                       Transfer
                                                         Wire
  6       5/29/2020     PBH    McDaniel      $3,000                    None
                                                       Transfer
  7        7/13/2020    PBH     Agency       $1,500     Check         Consulting
  8         8/3/2020    PBH     Agency       $4,350     Check             None
  9       12/21/2020    PBH     Agency       $1,350     Check             None
  10       2/14/2021    PBH     Agency       $1,500     Check             None
  11       3/29/2021    PBH     Agency       $2,000     Check             None
  12        4/2/2021    PBH     Agency       $1,200     Check             None
  13       5/12/2021    PBH     Agency       $5,500     Check             None
  14        6/1/2021    PBH    McDaniel      $2,150     Check             None
                                                                   Reimbursement
  15      8/10/2021     MTM    McDaniel      $4,247     Check
                                                                        and Pay
  16      8/24/2021     MTM    McDaniel      $3,000     Check             None
  17      9/27/2021     PBH    McDaniel      $1,500     Check         Consulting
                                                                     Influencer,
                                                                       Modeling,
  18      12/18/2021    PBH     Agency       $12,350    Check        Advertising
                                                                    Coordination
                                                                          Mgr.


 DSUF ¶¶ 16-17, 22-51, 53-55, 57-67.            Most of these payments were

 not made directly to her but to her Agency.            Id.     PPMC never paid

 her and did not list her on its payroll.               Id. ¶ 103     And this

 record of payments shows that PBH, when it paid her, did so in

 lump sums and not according to a regular hourly, weekly, or monthly

 rate. Nor did PBH withhold any payroll taxes or other withholdings

 required by law from any payments made to McDaniel or the Agency.

                                        14
Id. ¶ 68.

       As to tax treatment more generally, PPMC did not issue any

tax documents to McDaniel, and she did not claim any wages or

income earned from PPMC in any of her own tax filings.            Id. ¶¶

106-109.       PBH issued her an IRS Form 1099 for tax years 2020 and

2021 reflecting nonemployee compensation.         Id. ¶¶ 132-136.      And

for tax years 2019, 2020, and 2021, McDaniel classified herself as

an “actress” and “independent contractor” on her tax returns, paid

a self-employment tax, and claimed deductions for expenses such as

contract labor, supplies, travel, meals, and office expenses.          Id.

¶¶ 137-156.

       These    considerations   reinforce   Defendants’   argument   that

McDaniel was not an employee.        See DeLia, 656 F.3d at 5; Lopez,

588 F.3d at 85; Alberty-Vélez, 361 F.3d at 7.

       Description of Relationship.      Finally, the parties point to

how Mihailides and McDaniel describe the relationship at various

times.     McDaniel points to two times that Mihailides referred to

her as an employee.       Resp. 33-34.   Mihailides draws attention to

the many times that McDaniel referred to Defendants as her “client”

both throughout the relationship and after it ended.        DSUF ¶¶ 178-

192.   At one point, she wrote a social media post asking “why hire

me over and over?      I’m a contract worker.”   Id. ¶ 180.   In another

social media post, she wrote that she “should have cut this client



                                    15
off a long time ago.”       Id. ¶ 184.

     On balance, these facts do not move the needle much in either

direction      because   the   parties’      subjective      beliefs    are     not

dispositive.     See DeLia, 656 F.3d at 4 (citing Wilson v. Moulison

N. Corp., 639 F.3d 1, 10 (1st Cir. 2011)).

                                   *    *    *

     In the end, “while no one factor is dispositive, it is clear,

based on the parties’ entire relationship, that a reasonable fact

finder could only conclude that” McDaniel was not an employee of

either PBH or PPMC.       Alberty-Vélez, 361 F.2d at 10-11.             McDaniel

thus cannot sue them under Title VII, and Defendants are entitled

to summary judgment on Counts I-III.

  C. Counts IV-VI: FEPA Claims

     On to McDaniel’s FEPA claims, which mirror her Title VII

claims.   This Court has described FEPA as “the Rhode Island Analog

to Title VII.”      Wyss v. Gen. Dynamics Corp., 24 F. Supp. 2d 202,

210 (D.R.I. 1998).        The statute bans employers in Rhode Island

from discriminating against an employee, because of her sex, “with

respect   to    hire,    tenure,   compensation,         terms,    conditions    or

privileges     of   employment,    or    any     other    matter    directly     or

indirectly related to employment.”               R.I. Gen. Laws § 28-5-7(1).

Like Title VII, FEPA also has an anti-retaliation provision.                    Id.

§ 28-5-7(5).

     PBH and PPMC again say McDaniel was not their employee, and

                                        16
that they were not her employers, as defined by FEPA.            Defs.’ Mem

9.    Thus, they argue that she cannot sue under FEPA either.           Id.

at 10.

      FEPA itself does not define “employee,” other than to state

that the term “does not include any individual employed by his or

her parents, spouse, or child, or in the domestic service of any

person.”   R.I. Gen. Laws § 28-5-6(8).     And the State Supreme Court

has not clarified the definition through caselaw. Defendants argue

that FEPA should follow Title VII on this issue.                 Id. at 10.

McDaniel says nothing.    See Resp. 20-21.

      The Court sees no reason to depart from Title VII’s standard.

The   Rhode   Island   Supreme   Court   looks   to    federal    precedent

interpreting Title VII to interpret FEPA.        Decamp v. Dollar Tree

Stores, Inc., 875 A.2d 13, 21 (R.I. 2005) (citing Newport Shipyard,

Inc. v. R.I. Comm’n for Hum. Rts., 484 A.2d 893, 898 (R.I. 1984)).

And the Title VII standard closely tracks the standard long used

by Rhode Island courts in determining employment status for the

purpose of workers’ compensation benefits.            See Selby v. Baird,

240 A.3d 243, 247-248 (R.I. 2020) (first citing Deus v. S.S. Peter

& Paul Church, 820 A.2d 974 (R.I. 2003); and then citing Sorenson

v. Colibri Corp., 650 A.2d 125, 128 (R.I. 1994)).                 The Court

therefore adopts that standard to decide McDaniel’s status under

FEPA.

      Accordingly, because McDaniel was not an employee under Title

                                   17
VII, she was not an employee under FEPA.   As a result, she cannot

bring her FEPA sex discrimination claims against PBH or PPMC, and

they are entitled to summary judgment on Counts IV and V.

     But this does not necessarily resolve Count VI, McDaniel’s

FEPA retaliation claim, because FEPA’s anti-retaliation provision

sweeps more broadly than Title VII’s.    The provision states that

“[i]t shall be an unlawful employment practice”

     [f]or any employer . . . to discriminate in any manner
     against any individual because he or she has opposed any
     practice forbidden by this chapter, or because he or she
     has made a charge, testified, or assisted in any manner
     in any investigation, proceeding, or hearing under this
     chapter.

R.I. Gen. Laws § 28-5-7(5) (emphasis added).

     This raises the question: Can an individual who is not a

covered employee bring a retaliation charge against an employer?

     Neither party presents argument on this question, so the Court

lacks briefing to use as a guide.     And after reviewing the case

law, it appears that neither the State Supreme Court nor any other

federal court interpreting this statute, or a similar one, has

addressed the question.   To paraphrase the Indigo Girls, it looks

like there is more than one answer to this question, pointing in

a crooked line.   See Indigo Girls, Closer to Fine, on Indigo Girls

(Epic Records 1989); See also, e.g., R.I. Gen. Laws § 28-5-38

(directing that FEPA’s text shall be construed liberally); but

see, e.g., Mancini v. City of Providence, 155 A.3d 159, 161-67


                                 18
(R.I. 2017) (finding FEPA’s use of the phrase “any person” in §

28-5-7(6)   to   be   ambiguous    and       then   rejecting   a   literal

interpretation).

     The Court, while “not bound by the parties’ collective failure

to discuss applicable law, [is] generally reluctant to venture

beyond the ambit of the parties’ arguments to decide an issue

without full briefing.”    Borrás-Borrero v. Corporación del Fondo

del Seguro del Estado, 958 F.3d 26, 34 (1st Cir. 2020) (citing

Whyte v. Conn. Mut. Life Ins., 818 F.2d 1005, 1011 n.20 (1st Cir.

1987)).   That reluctance increases “where, as here, the underlying

legal issue is not clear cut.”     Id.

     Because of this open question, the Court will defer on the

motion for summary judgment as to Count VI for now.         See id.; Fed.

R. Civ. P. 56(a).     If Defendants wish to pursue summary judgment

on this Count, then they shall file supplemental briefing on this

question within two weeks of the date of this Order.        If Defendants

file supplemental briefing, then McDaniel shall have two weeks

from the date of Defendants’ filing to respond. 1

                               *   *     *

     In sum, the Court grants summary judgment to PBH and PPMC on


     1The Court recognizes that if it finds that McDaniel, despite
having been an independent contractor, can sue Defendants under
FEPA, then it must still consider Defendants’ argument that they
are not covered “employers.”     Defs.’ Mem. 6-9.      As to that
consideration, McDaniel urges the Court should apply the
“integrated employer” doctrine. Resp. 13-19; see Torres-Negrón v.
                                   19
Counts IV and V and defers judgment on Count VI, pending further

briefing from the parties. 2

  D. Counts VII, X, and XI: Breach of Contract and RIPWA Claims

     The Court next considers Count VII, which it groups together

with Counts X and XI.    Count VII alleges that Mihailides breached

an agreement to pay McDaniel a “salary” of $6,000 per month to

work at the Resort.    Operative Compl. ¶¶ 267-273.    Count X repeats

the same allegation, except under RIPWA and against all Defendants.

Id. ¶¶ 310-317.       And Count XI, also under RIPWA, charges all

Defendants with misclassifying her as an independent contractor

rather than as an employee.    Id. ¶¶ 318-320.

     As an initial matter, although McDaniel styled Count VII as

a breach of contract, it arises from Mihailides’s alleged failure

to pay her “salary.”    Id. ¶ 268.    “Accordingly, [the] claim is one

for failure to pay wages in violation of [RIPWA].”      Nissensohn v.

CharterCARE Home Health Servs., 306 A.3d 1026, 1037 (R.I. 2024).

As a result, the rules governing RIPWA apply to this nominal breach



Merck & Co., 488 F.3d 34, 40 (1st Cir. 2007). This presents the
additional question of whether the “integrated employer” doctrine,
relevant to Title VII actions, also applies to FEPA claims. The
parties shall also provide briefing on this question.

     2  Regarding Count VI, Defendants also argue that McDaniel
failed to exhaust her administrative remedies for her retaliation
claim because her Amended Charge of Discrimination was improperly
notarized. Defs.’ Mem. 48 n.9. This argument fails for lack of
supporting evidence and lack of argument as to why that allegedly
improper notarization entitles Defendants to judgment as a matter
of law.
                                     20
of contract claim.           Id. (citing Bisbano v. Strine Printing Co.,

135 A.3d 1202, 1209-10 (R.I. 2016)).

     Under    RIPWA,    an     employee    or   former   employee   may   sue   an

employer     that   “fail[ed]      to     pay   wages    and/or     benefits    or

misclassifi[ed]” her as an independent contractor rather than as

an employee.    R.I. Gen. Laws § 28-14-19.2(a).            The statute defines

an employee as “any person suffered or permitted to work by an

employer, except that independent contractors or subcontractors

shall not be considered employees.”             Id. § 28-14-1(4).

     Defendants once again argue that McDaniel was not an employee,

and that they were not her employers.             Defs.’ Mem. 5-6, 9, 49-50.

Thus, they move the Court to grant them summary judgment on Counts

VII, X, and XI.        Id.     McDaniel does not respond with any RIPWA-

specific argument.       See generally Resp.

     The Court has found that McDaniel was not a covered employee

under Title VII and FEPA.           Like FEPA, RIPWA does not precisely

define “employee.”           But unlike FEPA, RIPWA explicitly excludes

independent contractors. The Court does not see, nor does McDaniel

give, any reason to depart from its previous Title VII and FEPA

finding that McDaniel was an independent contractor and not an

employee.    Accordingly, the Court concludes that McDaniel was also

not an employee as defined by RIPWA, and that Defendants are




                                          21
entitled to summary judgment on Counts VII, X, and XI.

  E. Counts VIII and IX: RICRA Claims

     The Court now turns to Counts VIII and IX, McDaniel’s RICRA

claims against all Defendants.      In Count VIII, McDaniel asserts

her hostile work environment claim.     Operative Compl. ¶¶ 274-294.

In Count IX, she brings her quid pro quo sexual harassment claim.

Operative Compl. ¶¶ 295-309.

     RICRA is modeled after a provision of the Civil Rights Act of

1866, 42 U.S.C. § 1981.    Wyss, 24 F. Supp. 2d at 210.    It provides

“broad protection against all forms of discrimination in all phases

of employment” to “[a]ll persons within the state.”         Horn v. S.

Union Co., 927 A.2d 292, 293 (R.I. 2007) (quoting Ward v. City of

Pawtucket Police Dept., 639 A.2d 1379, 1381 (R.I. 1994)); R.I.

Gen. Laws § 42-112-1.     It complements FEPA, and plaintiffs often

assert claims for the same alleged harm under both laws.         Horn,

927 A.2d at 293. But despite their similarities, “the two statutes

stand as distinct and independent avenues of redress, each with a

related,   yet   differing,   focus.”   Id.   at   297   (Suttell,   J.,

dissenting).

     Confronted by this broad statute, Defendants pivot and say

that McDaniel’s sexual harassment claims occurred in March 2019

(when she first noted the alleged harassment), or no later than

April 2020 (when she began documenting the claimed harassment).

Defs.’ Mem. 51-53.    Thus, they reason that her claims are barred

                                  22
by   RICRA’s   statute       of    limitations,         which    requires       potential

claimants    to     bring    their      claims    within       three    years    of   “the

occurrence of the alleged violation.”                    Id.; see R.I. Gen. Laws

§ 42-112-2.

       Defendant’s argument fails on both claims.                    It disregards the

basic framework for how to determine when an alleged workplace

harassment claim “occurs.”

       The United States Supreme Court established that framework in

Morgan, 536 U.S. 110-22.             Like McDaniel, the claimant in Morgan

brought     Title    VII     claims      for     acts     of     discrimination        and

retaliation, and a claim for hostile work environment.                            Id. at

104.     The question presented for decision there was the very

question at issue here.           Id. at 105, 110.

       To answer, the Court first distinguished claims for discrete

acts of discrimination and retaliation from claims for hostile

work environments.          Id. at 105.         It then held that each discrete

alleged act of discrimination or retaliation “occurs” on the day

that   it   takes    place,       and   “constitutes       a    separate     actionable

unlawful     employment        practice”         subject        to     the   applicable

limitations period.          Id. at 114, 122 (quotation marks omitted).

The Court next held that an alleged hostile work environment –

“different in kind from discrete acts,” id. at 115 – “occurs” over

a continuing period and thus “will not be time barred so long as

all acts which constitute the claim are part of the same unlawful

                                           23
employment practice and at least one act falls within the time

period.”     Id. at 122.

     The Supreme Court’s framework applied to claims brought under

Title VII.     Id.   Although the Rhode Island Supreme Court has not

explicitly applied this framework to analogous claims brought

under RICRA, the Court believes that it would do so if presented

with the question.       It already uses Title VII’s “methodological

approach in evaluating the merits of employment discrimination

claims” brought under RICRA.           Horn, 927 A.2d at 294 n.7 (citing

Decamp, 875 A.2d at 23).           And it relies on Title VII precedent

when questions of RICRA interpretation arise.             Decamp, 875 A.2d at

21 (citing Newport Shipyard, 484 A.2d at 898).               Accordingly, the

Court   will   assess   McDaniel’s      RICRA    claims   using    Title   VII’s

analytical     framework,    but   with     RICRA’s   three-year   limitations

period.

     The   Court     first   applies      this   framework   to    Count   VIII,

McDaniel’s hostile work environment claim.                Operative Compl. ¶

274-94.    The Court’s “task is to determine whether the acts about

which [McDaniel] complains are part of the same actionable hostile

work environment practice, and if so, whether any act falls within

the statutory time period.”            Morgan, 536 U.S. at 120.            Here,

McDaniel alleges that the claim arises from discriminatory acts

that were of the same nature and that continued throughout the

business relationship.       Operative Compl. ¶¶ 274-294.          She alleges

                                       24
that specific acts occurred in May, June, August, September,

October, and December of 2021.        Id. ¶¶ 45-80.       And she filed this

lawsuit in July 2023.      Id. ¶ 175.      Thus, the Court finds that the

alleged   hostile work environment claim occurred within RICRA’s

three-year   limitations    period.        As    such,   Defendants   are   not

entitled to summary judgment on Count VIII.

     The Court now turns to Count IX, McDaniel’s quid pro quo

sexual harassment claim.        Id. ¶¶ 295-309.           McDaniel does not

distinguish between discrete incidents.             Id.    Rather, she only

generally refers to conduct that occurred on “several occasions.”

Id. ¶¶ 300-301.   Yet in reviewing McDaniel’s Operative Complaint,

the Court discerns discrete incidents of alleged quid pro quo

sexual harassment in September, October, and December of 2021.

Id. ¶¶ 64-66, 71-72, 78-79.          These alleged acts each occurred

within RICRA’s limitations period.              So Defendants are also not

entitled to summary judgment on Count IX.

                                 *    *    *

     All in all, Defendants have not shown that McDaniel’s RICRA

claims in either Count VIII or IX occurred outside the relevant

statute of limitations period.       Accordingly, they are not entitled

to summary judgment on Count VIII or IX.           But the Court notes that

McDaniel may not recover for any alleged discrete act of quid pro

quo harassment that may have occurred outside the limitations



                                      25
period.    See Morgan, 536 U.S. at 115.

  F. Count XII: R.I. Defamation Claim

     The Court closes with McDaniel’s defamation claim against

Mihailides.     Operative Compl. ¶¶ 323-330.     She alleges that he is

liable    for   telling   others   that   the   two   were   in    a    sexual

relationship, and that she was his mistress.              Id.      Defendants

respond by saying McDaniel’s defamation claim occurred no later

than December 19, 2021, so the claims are barred by the statute of

limitations.     Defs.’ Mem. 53-54.

     Because     McDaniel   says   Mihailides    defamed     her    when    he

“uttered” false statements, her claim is one for slander.                  See

Francis v. Gallo, 59 A.3d 69, 72 (R.I. 2013).            In Rhode Island,

the statute of limitations for claims of slander is one year.              R.I.

Gen. Laws § 9-1-14(a).

     Defendants’ asserted date follows from the fact that McDaniel

has not seen Mihailides or heard him say anything since December

19, 2021, and that she does not know whether he has made any

allegedly slanderous statements to others since then.                  DSUF ¶¶

461-465.   McDaniel makes no counterargument.         See generally Resp.;

Reply Mem. Supp. Defs.’ Mot. Partial Summ. J. 8, ECF No. 65 (noting

that McDaniel does not “argue against the entry of summary judgment

in favor of Defendants on her defamation claim”).

     From this, the Court finds that McDaniel’s claim for slander

occurred no later than December 19, 2021.             Because she did not

                                    26
bring this lawsuit until July 2023, her claim falls outside the

relevant statute of limitations.          So Mihailides is entitled to

summary judgment on Count XII.

IV. CONCLUSION

     For these reasons, the Court concludes that:

       •   PBH and PPMC are entitled to summary judgment on Counts

           I-V.

       •   PBH and PPMC are not entitled to summary judgment on

           Count VI at this time, but rather are directed to file

           the supplemental briefing as described above in Part

           II(C).

       •   All Defendants are entitled to summary judgment on Count

           VII.

       •   No Defendant is entitled to summary judgment on Counts

           VIII and IX.

       •   All    Defendants   are   entitled   to   summary   judgment   on

           Counts X and XI.

       •   Mihailides is entitled to summary judgment on Count XII.

Count XIII was not subject to Defendants’ Motion.

     In accordance with these conclusions, the Court GRANTS IN

PART and DENIES IN PART Defendants’ Motion for Partial Summary




                                     27
Judgment, ECF No. 47.



IT IS SO ORDERED.




William E. Smith
Senior District Judge
Date: April 17, 2025




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